         Case 1:21-cr-00078-RCL Document 69-1 Filed 03/02/22 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :       Criminal No. 1:21-cr-00078-EGS
                                               :
JOHN EARLE SULLIVAN,                           :
                                               :       Defendant.
                                               :

                                       ORDER

       Based upon the representations in the United States’ Consent Motion to Continue and to

Exclude Time Under the Speedy Trial Act, and upon consideration of the entire record, the Court

makes the following findings:

       In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the considerations described in 18 U.S.C. § 3161(h)(7)(B)(i), (ii), and (iv). Due to the

interest by the parties in producing and reviewing discovery, the failure to grant such a continuance

in this proceeding would be likely result in a miscarriage of justice by foreclosing such resolution.

Accordingly, the ends of justice served by granting a request for a continuance outweigh the best

interest of the public and the defendant in a speedy trial.

       Therefore, it is this        day of ________________, 2022,

       ORDERED that the United States’ Consent Motion to Continue and to Exclude Time

Under the Speedy Trial Act, is hereby GRANTED; it is further

       ORDERED that the status hearing currently scheduled for March 4, 2022 is continued to

                       , 2022, at              ; and it is further

       ORDERED that the time period from the date of this Order through and including the

date of the next hearing is hereby excluded from the computation of time within which trial must
        Case 1:21-cr-00078-RCL Document 69-1 Filed 03/02/22 Page 2 of 2




commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.



                                   ___________________________________
                                   THE HONORABLE EMMET G. SULLIVAN
                                   UNITED STATES DISTRICT JUDGE
